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                                            The Office of Vince Ryan
                                               County Attorney



                                              January 11 , 2018

     Honorable Ken    ~
     Attorney General of Texas
                                                                  via Certified Mail/ Return Receipt Requested

     Supreme Court Building
     P. 0. Box 12548
     Aystin, Texas 78711-2548

     Attention:      Open Records Committee

     Re:     Public Information Request by Logan Churchwell with the Public Interest Legal Foundation to the
             Harris County Voter Registrar for certain information dating back to January of 2006 related to
             individuals who were identified by official sources as potentially not satisfying the citizenship
             requirementsrelated to registered voters, etc. C. A. File No. 17PIA0 762

     Dear Attorney General Paxton:

             On December 18, 2017, the Harris County Voter Registrar received written clarification in
     response to a December 15, 2017 request for clarification related to a December 1, 2017 request for the
     above-referenced information pursuant to the Texas Public Information Act, Tex. Gov ' t Code§§ 552.001-
     552.353 (the "Act"). We note that December 25 , 2017, December 26, 2017, and January 1, 2018 were
     Harris County holidays and should not be counted as part of the fifteen working days within which to
     respond.

             We believe the requested information is not subject to disclosure under Section 552.101 of the Act
     in conjunction with Section 62.113 of the Texas Government Code, common-law privacy, and informer' s
     privilege, and Section 5 52.108 of the Act, and any other applicable statutes or cases identified under the
     Act or other Texas law. A memorandum brief and the information for which exceptions to disclosure are
     sought are enclosed. Please provide us with your opinion regarding this matter.

             The requestor is being copied with this letter and is being notified that if he should have any
     questions regarding the Act, he may contact the Office of the Attorney General ' s Hotline at (877) 673-
     6839 .
                                                    Yours very truly,

                                                      VINCE RYAN
                                                      County Attorney        /)

                                                      By dimL5le<f/Cd'Jb.
                                                      Kristen Lee
                                                      Assistant County Attorney
     cc: Mr. Logan Churchwell
         32 E. Washington Street, Suite 1675
         Indianapolis, Indiana 46204         lchurchwell@JJublicinterestlegal.org
1019 Congress, 15th Floor• Houston, Texas 77002 •Phone: 713-274-5101 •Fax: 713-755-8924

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                                    MEMORANDUM BRIEF

        On December 18, 2017, the Harris County Voter Registrar received written clarification in
response to a December 15, 2017 request for clarification related to a December 1, 2017 request
for information from Logan Churchwell, Communications & Research Director with the Public
Interest Legal Foundation, for:

       Item 1.         Documents regarding all registrants who were identified as
       potentially not satisfying the citizenship requirements for registration from any
       official information source, including information obtained from the various
       agencies within the U.S. Department of Homeland Security, Texas Department of
       Public Safety, and from the Texas Secretary of State since January 1, 2006. This
       request extends to all documents that provide the name of the registrant, the voting
       history of such registrant, the nature and content of any notice sent to the registrant,
       including the date of the notice, the response (if any) of the registrant, and actions
       taken regarding the registrant's registration (if any) and the date of the action. This
       request extends to electronic records capable of compilation. [Clarification:
       includes, but is not limited to, information obtained by your office under Section
       62.113(b )(l)- "the list of persons excused or disqualified because of citizenship"
       received from the clerk of court. To the extent information derived from these lists
       is helpful in providing the other requested information, we ask that it be so used.]

       Item 2.         All documents and records of communication received by your
       office from registered voters, legal counsel, claimed relatives, or other agents since
       January 1, 2006 requesting a removal or cancellation from the voter roll for any
       reason related to non-U .S. citizenship/ineligibility. Please include any official
       records indicating maintenance actions undertaken thereafter. [Clarification:
       limited to records that relate to ineligibility for citizenship reasons];

       Item 3.          All documents and records of communication received by your
       office from jury selection officials- state and federal-since January 1, 2006
       referencing individuals who claimed to be non-U.S. citizens when attempting to
       avoid serving a duty call. This request seeks copies of the official referrals and
       documents indicating where your office matched a claim of noncitizenship to an
       existing registered voter and extends to the communications and maintenance
       actions taken as a result that were memorialized in any written form . [Clarification:
       includes, but is not limited to, information obtained by your office under Section
       62.113(b )(1 )- "the list of persons excused or disqualified because of citizenship"
       received from the clerk of court. To the extent information derived from these lists
       is helpful in providing the other requested information, we ask that it be so used.];
       and

      Item 4.          All communications regarding your list maintenance activities
      relating to # 1 through 3 above to the District Attorney, Texas Attorney General,
      Texas State Troopers/DPS, any other state law enforcement agencies, the United
      States Attorney's office, or the Federal Bureau of Investigation. [Clarification: The
      timeframe for the requested information is January 1, 2006 to the present].

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       The original request, request for clarification, and clarification response are
attached as Exhibits A-1 , A-2, and A-3, respectively.

        On behalf of the Harris County Voter Registrar's Office and pursuant to the Texas Public
Information Act (the Act), Tex. Gov't Code§§ 552.001-.353, the Harris County Attorney's Office
is submitting this Memorandum Brief and the responsive records for which an exception to
disclosure is sought. Representative samples of the responsive records for which an exception is
sought is attached as Exhibits B-1 through B-4. We note that December 25, 2017, December 26,
2017, and January 1, 2018 were Harris County holidays and should not be counted as part of the
timeframe within which to respond.

        The Act defines public information as information that is collected, assembled, or
maintained under a law or ordinance, or in connection with the transaction of official business: (1)
by a governmental body; (2) for a governmental body under certain circumstances; or (3) by an
official or employee in an official capacity. Tex. Gov't Code § 552.002. Public information must
be disclosed unless the information falls within one of the Act's specific exceptions to disclosure.
Tex. Gov't Code § 552.001; Tex. Att'y Gen. Op. Nos. JM-511 (1988), JM-363 (1983).

        We believe Section 62.113 of the Texas Government Code, in Conjunction with Section
552.101 of the Act; clearly prohibits the Harris County Voter Registrar from producing and/or
creating the requested information to respond to Items 1 and 3, above. The common-law right to
privacy and the informer's privilege in the context of Section 552.101 of the Act also protects the
identifying information requested in Item 2, above. Section 552.108 of the Act prohibits the
release of the responsive information to Item 4, above, due to an ongoing investigation.

                                              Discussion

      The information requested includes documents that fall under Section 552.10 1 of the
Government Code provides as follows:

       Information is excepted from [required public disclosure] if it is information
       considered to be confidential by law, either constitutional, statutory, or by judicial
       decision.

Tex. Gov' t Code§ 552.101.

         Section 552.101 also encompasses section 62. 11 3 of the Texas Government Code, which
strictly limits the use of the information requested by Items 1 and 3 to only two purposes by
governmental entities. Section 62.113 of the Texas Government Code provides as follows :

       (a) The clerk of the court shall maintain a list of the name and address of each
       person who is excused or disqualified under this subchapter from jury service
       because the person is not a citizen of the United States.




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       (b) On the third business day of each month, the clerk shall send a copy of the list
       of persons excused or disqualified because of citizenship in the previous month
       to:
               ( 1) the voter registrar of the county;
               (2) the secretary of state; and
               (3) the county or district attorney, as applicable, for an investigation of
               whether the person committed an offense under Section 13. 007, Election
               Code, or other law.
       (c) A list compiled under this section may not be used for a purpose other
       than a purpose described by Subsection (b) or Section 16.0332 or 18.068,
       Election Code.
       (d) A person commits an offense if the person violates Subsection (c). An offense
       under this section is a Class C misdemeanor.
       (e) The information required to be filed with the secretary of state under this
       section must be filed electronically. The secretary of state may waive this
       requirement on application for a waiver submitted by the clerk.

Tex. Gov' t Code§ 62.113 (emphasis added).

        The Voter Registrar is prohibited from using the lists obtained under Section 62.11 3 for
any purpose other than to deliver to each registered voter whose name appears on the list a written
notice requiring the voter to submit to the registrar proof of United States citizenship. Any other
use of the information is a criminal offense. Id. §62. 11 3(d). Items 1 and 3 of the request seek
these same lists complied under Section 62. 113 by the Clerk and received by the Harris County
Voter Registrar. The Voter Registrar' s Office would be required to use these lists to create the
requested voter registration information, including the names of the individuals, the voting
histories of the registrants, and notices sent to or from the registrant in relation to the Voter
Registrar's notices that were generated as a result of having received the lists. Such information
does not currently exist in the form requested by the requestor and there is no authority for the
Voter Registrar to produce and/or create the lists or information directly derived from the list in
the performance of their duties under Section 62.113.

        Using the information received by the Clerk and Secretary of State's offices under Section
62.113 in order to produce and/or create the information requested under Items 1 and 3 would not
constitute a use of the information permitted by Section 62.113( c). Therefore, we contend that the
Harris County Voter Registrar is precluded from producing and/or creating the requested
information in Items 1 and 3.

        Section 552.101 of the Act also encompasses the doctrine of common-law privacy, and
protects information that is (1) highly intimate or embarrassing, the publication of which would be
highly objectionable to a reasonable person, and (2) not of legitimate concern to the public. Indus.
Found. v. Tex. Indus. Accident Bd. , 540 S.W.2d 668, 685 (Tex. 1976). To demonstrate the
applicability of common-law privacy, both prongs of the test must be satisfied. See id. at 681-82.
Under the doctrine of common-law privacy, an individual has a right to be free from the publicizing
of private affairs in which the public has no legitimate concern. Id. at 682.



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         In this instance, the information at issue in Exhibits B-1 and B-3 is highly intimate and
embarrassing, in that it is information derived from the official juror questionnaire mandated and
made confidential by Section 62.0132 of the Texas Government Code. Each individual completing
the juror questionnaire had a reasonable expectation of privacy as to the information contained in
their responses. In fact, that's exactly what it says on the form: "THE FOLLOWING JUROR
QUESTIONNAIRE IS MANDATED BY GOVERNMENT CODE 62.0132. Your answers are
CONFIDENTIAL and may be disclosed only to the judge, court personnel, the litigant, and the
litigant's attorney." See Exhibit B-3. Section 62.0132 of the Texas Government Code states as
follows:

       (a) The Office of Court Administration of the Texas Judicial System shall develop
       and maintain a questionnaire to accompany a written jury summons.
       (b) A written jury summons must include:
                ( 1) a copy of the questionnaire developed under this section; or
                (2) the electronic address of the court's Internet website from which the
       questionnaire developed under this section may be easily printed.
       (c) The questionnaire must require a person to provide biographical and
       demographic information that is relevant to service as a jury member, including the
       person's:
                { 1) name, sex, race, and age;
                (2) residence address and mailing address;
                (3) education level, occupation, and place of employment;
                (4) marital status and the name, occupation, and place of employment of the
                person's spouse; and
                (5) citizenship status and county of residence.
       (d) Except as provided by this subsection, a person who has received a written jury
       summons shall complete and submit a jury summons questionnaire when the person
       reports for jury duty. If the district and criminal district j udges of a county adopt a
       plan for an electronic jury selection method under Section 62.011 , the county may
       allow a person to complete and submit a jury summons questionnaire on the court's
       Internet website as authorized under Section 62.01 l l(b)(S).
       ( e) In developing and maintaining the questionnaire required by this section, the
       Office of Court Administration of the Texas Judicial System shall solicit and
       consider the opinions of the members of the judiciary, district clerks, and attorneys.
       (f) Except as provided by Subsection (g), information contained in a completed
       questionnaire is confidential and is not subject to Chapter 552.
       (g) The information contained in a completed questionnaire may be disclosed to:
                (1) a judge assigned to hear a cause of action in which the respondent to the
                questionnaire is a potential juror;
                (2) court personnel;
                (3) a litigant and a litigant' s attorney in a cause of action in which the
                respondent to the questionnaire is a potential juror; and
                (4) other than information provided that is related to Section 62.102(8) or
                (9), the voter registrar of a county in connection with any matter of voter
                registration or the administration of elections.            .
       (h) The questionnaire must notify a person that if the person states that the person


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       is not a citizen, the person will no longer be eligible to vote if the person fails to
       provide proof of citizenship.

Tex. Gov't Code§ 62.0132 (emphasis added).

        The responses, or information derived from the responses on the juror questionnaires, are
not only intimate details about the individual, they may include embarrassing errors or
misstatements that were never intended to be released to the public. Further, the fact that the juror
questionnaire is a confidential form speaks to the fact that the responses contained therein are not
of legitimate concern to the public. For the above stated reasons and authority, as well as other
applicable law, the records and information represented in Exhibits B-1 and B-3 should be
excepted from disclosure in their entirety or at least in part.

        The doctrine of common-law privacy also protects the responsive information to Item 2,
found in the representative sample, Exhibit B-2. Item 2 seeks the names, addresses, and voter
registration information associated with individuals who have requested the removal or
cancellation of a voter from the voter roll due to ineligibility due to non-citizenship. Like the
information contained in Exhibit B-1 and B-1, this information is both highly intimate and
embarrassing to the individuals at issue and is not of legitimate concern to the public. The
publication of detailed name, address, and other identifying information about potential non-
citizens (beyond government/law enforcement use) would be highly objectionable to a reasonable
person. The likelihood is high that such protected personal information would be disseminated
(beyond government/law enforcement use) without regard to the privacy and safety of the
individuals at issue. Less invasive alternatives exist, such as providing data points that a:re devoid
personal information, in order to balance the privacy and retaliation concerns with the legitimate
concerns to the public for information related to voter registration. For the above stated reasons
and authority, as well as other applicable law, the records and information represented in Exhibit
B-2 should be excepted from disclosure in their entirety or at least in part.

        Also with respect to Exhibit B-2 , the informer's privilege, incorporated into the Act by
section 552.101 , which has long been recognized by Texas courts, applies to instances where
someone, other than the voter, has communicated with the Harris County Voter Registrar alleging
ineligibility due to non-citizenship. See, e.g., Tex. Att'y Gen. ORD-01253 (2006); Aguilar v. State,
444 S.W.2d 935, 937 (Tex. Crim. App. 1969); Hawthorne v. State, 10 S.W.2d 724, 725 (Tex.
Crim. App. 1928). Informer's privilege protects from disclosure the identities of persons who
report activities over which the governmental body has criminal or quasi-criminal law-
enforcement authority, provided that the subject of the information does not already know the
informers identity. See, e.g., Tex. Att'y Gen. ORD-01253 (2006); Tex. Att'y Gen. ORD-515 at 3
(1998), 208 at 1-2 (1978). The informer's privilege protects the identities of individuals who report
violations of statutes to the police or similar law-enforcement agencies, as well as those who report
violations of statutes with civil or criminal penalties to "administrative officials having a duty of
inspection or oflaw enforcement within their particular spheres." See, e.g., Tex. Att'y Gen. ORD-
03079 (20 15); Tex. Att'y Gen. ORD-279 at 2 (1981 ) citing Wigmore, Evidence, § 2374, at 767
(McNaughton rev . ed. 1961 ). The report must be of a violation of a criminal or civil statute. See,
e.g., Tex. Att'y Gen. ORD-6029 (200 l ); Tex. Att'y Gen. ORD-582 at 2 (1990), 515 at 4-5 (1988).
The informer's privilege protects the content of the communication only to the extent that it


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identifies the informant. See, e.g., Tex. Att'y Gen. ORD- 01253 (2006); See, e.g., Tex. Att'y Gen.
ORD- 03079 (2015); Roviaro v. United States, 353 U.S. 53, 60 (1957).

       To the extent that the informer's privilege applies to the representative sample of
responsive information contained in Exhibit B-2, we seek to withhold the identity of the
complainant on the basis of the informer' s privilege. Therefore, Section 552.101 of the Act in
conjunction with the common-law informer's privilege is applicable.

       Exhibit B-4, contains a representative sample of information responsive to Item 4 and
includes documents that fall under section 552.108, the "law enforcement exception." That
exception provides in pertinent part as follows:

               (a) Information held by a law enforcement agency or prosecutor that
               deals with the detection, investigation, or prosecution of crime is
               excepted from the requirements of section 552.021 if:
                   (1) release of the information would interfere with the detection,
                   investigation, or prosecution of crime[.]

Tex. Gov't Code§ 552. l 08.

        The requested documents and information in Exhibit B-4 relate directly to an open and
ongoing criminal investigation and prosecution. The Texas Attorney General's Office has advised
that release of the requested information would interfere with the pending investigation and with
the detection, investigation, and prosecution of crime, as indicated in the attached affidavit,
enclosed as Exhibit C. The affiant, Sgt. Johnny Hatcher, asserts the criminal investigation is
considered open and ongoing at this time and opposes the disclosure of the requested documents .
The Attorney General has consistently ruled that this exception to the Act is designed to protect
law enforcement interests during the investigation and prosecution of criminal acts. Thus, section
552.108 (a)(l) is applicable, and the documents contained in Exhibit B-4 should be withheld.

       The information responsive to Item 4 also contains information that was derived from
information received by the Voter Registrar' s office under Section 62.113 of the Texas
Government Code. We respectfully rely on the previously referenced application of Section
552.101 with 62.113, which statutorily prohibits the Voter Registrar from producing or creating
information to respond to the request. To the extent that information contained in Exhibit B-4 was
derived from the list obtained under Section 62.113 , we believe the Voter Registrar is prohibited
from creating or releasing the information contained in Exhibit B-4.

       For the above stated reasons and authority, as well as other applicable law, the records and
information in Exhibit B-4 should be excepted from disclosure in their entirety or at least in part.

        Finally, section 552. l 01 of the Government Code excepts from disclosure "Information
considered to be confidential by law, either constitutional, statutory, or by judicial decision." Gov't
Code § 552.101. Section 552.101 encompasses the doctrine of common-law privacy. Indus.
Found. v. Tex. Indus. Accident Bd. , 540 S.W.2d 668, 685 (Tex. 1976). Under the common-law
right of privacy, an individual has a right to be free from publicizing of private affairs in which the
public has no legitimate concern. Id.at 682. In considering whether an individual's date of birth is
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private, the Third Court of Appeals looked to the supreme court's rationale in Texas Comptroller
ofPublic Accounts v. Attorney General of Texas, 354 S.W.3d 336 (Tex. 2010). Paxton v. City of
Dallas, No. 03-13-00546-CV, 2015 WL 3394061, at 3 (Tex. App.- Austin May 22, 2015, pet.
Denied) (mem. op.). The supreme court concluded public employees' dates of birth are private
under section 552.102 of the Government Code because the employees' privacy interest
substantially outweighed the negligible public interest in disclosure. Texas Comptroller, 354
S.W.3d at 347-48. Based on Texas Comptroller, the court of appeals concluded the privacy rights
of public employees apply equally to the public, and thus, public individual's dates of birth are
also protected by common- Jaw privacy pursuant to section 552.101. City of Dallas, 2015 WL
3394061 at 3. Thus the Voter Registrar's office should be allowed to withhold all dates of birth
under section 552.101 of the Government Code in conjunction with common-law privacy.

        Finally, your office has issued a prior ruling regarding substantially similar information.
See OR2013-0035 l , Exhibit D. In that ruling, your office concluded that the information at issue
is made confidential by section 62.113 of the Texas Government Code and must be withheld under
section 552.101 of the Act.

       For the above stated reasons and authority, as well as other applicable law, the information
in Exhibits B-1 through B-4 should be excepted from disclosure in its entirety or at least in part.




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